                                    Case 3:20-cv-00272-MMD-BNW Document 61
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                                    RICHARD G. HILL, ESQ.
                               2    State Bar No. 596
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                                    Reno, Nevada 89509
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                                    rhill@richardhillaw.com
                                5
                                    Attorneys for Barbara Lynn Uoyd
                               6
                               7                                UNITED STATES DISTRICT COURT
                                8                                        DISTRICT OF NEVADA
                                9   THE CINCINNATI SPECIALTY
                                    UNDERWRITERS INSURANCE COMPANY,
                              10
                                                          Plaintiff,
                              11                                                         Case No. 3:20-cv-0272-MMD-BNW
                                    V.
                              12
                                    RED ROCK HOUNDS, a Domestic Nonprofit
                              13    Cooperative Corporation Without Stock (81)
                                    [sic]; LYNN LLOYD, individually; and
                              14    TRACY TURNBOW (Interested Party),
                              15                          Defendants.
                              16
                                    AND RELATED CLAIMS.
                              17
                              18                            MOTION FOK T P AVF TO WITHDRAW
                              19                 RICHARD G. HILL, LTD., and RICHARD G. HILL, ESQ., move the Court for
                              20    leave to withdraw as counsel for BARBARA LYNN LLOYD, referred in the pleadings and
                              21    papers of this case as LYNN LLOYD. Reference is made to the declaration of Richard G.
                              22     Hill, Esq., attached as EXHIBIT 1.
                              23                                       POINTS AND AUTHORITIES
                              24                 This motion is brought pursuant to LR lA ii-6(b).
                              25                 An irreconcilable conflict of interest has developed between the undersigned
                              26     counsel and Ms. Lloyd. Pursuant to NvRPC 1.16, this writer is obliged to withdraw as soon

    LAW OFFICE
                              27     as possible, while causing the client as little prejudice as possible.
RICHARD G . HILL

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                                    Case 3:20-cv-00272-MMD-BNW Document 61
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                                1                Here, discovery is underway, and the current discovery cut-off is April 16,2021.
                                2    That deadline has already been extended once, and, because of the pandemic, further
                                3    adjustments are likely. The state court plaintiff, Ms. Turnbow, has been deposed, and Ms.
                                4    Lloyd's counsel was actively involved in that process.
                                5                Reference is made to NvSCR 46.
                                6
                                7                WHEREFORE, Richard G. Hill, Ltd., and Richard G. Hill, Esq., pray for leaved
                                8    to withdraw as counsel for Barbara Lynn Lloyd; and for such other, further, and additional
                                9    relief as seems just to the CourUy the premises.
                              10                 DATED this     ^   ^ % v of January, 2021,
                              11                                               RICHARD G r       jL, LTD.
                              12
                              13
                                                                                  :HARD G.-^ILL, ESQ.
                              14                                               652 Forest Street
                                                                               Reno, Nevada 89509
                              15                                               Attorneys for Barbara Lynn Lloyd
                              16                                         ORDER
                              17                            IT IS SO ORDERED

                              18                            DATED: 4:11 pm, January 11, 2021

                              19
                              20
                                                            BRENDA WEKSLER
                              21                            UNITED STATES MAGISTRATE JUDGE

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                              23
                              24
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                              26

     LAW OFFICE
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